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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


MARC GRANO, As Wrongful Death
Personal Representative of the Estate of
FRANCISCA MARMOLEJO, Deceased,

        Plaintiff,

   v.                                            CIV. No. 1:17-cv-11

PINNACLE HEALTH FACILITIES XXXIII, LP
d/b/a SAGECREST NURAING AND
REHABILITATION CENTER,

        Defendant.

                                   NOTICE OF REMOVAL

        PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441 (a) and 1446, Defendant

Pinnacle Health Facilities XXXIII, L.P. removes to this Court the State Action described below,

which is within the original jurisdiction of this Court and properly removed under 28 U.S.C. §§

1332, 1441(a), and 1446. Pursuant to 28 U.S.C. § 1446(d), copies of this Notice of Removal are

being served upon counsel for Plaintiff Marc Grano, as Wrongful Death Personal Representative

of the Estate of Francisca Marmolego (“Plaintiff”), and filed with the Clerk of the Fourth Judicial

District of the State of New Mexico, County of San Miguel.

              PROCEDURAL HISTORY AND TIMELINESS OF REMOVAL

        1.     On or about December 2, 2016, Plaintiff filed a Complaint for Nursing Home

Negligence, Wrongful Death and Punitive Damages in the Fourth Judicial District Court of the

State of New Mexico, County of San Miguel, No. D-412-CV-2016-00573. A copy of the

Complaint is attached hereto as Exhibit A.
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         2.    The Complaint was served on Defendant Pinnacle Health Facilities XXXIII, L.P.

through its Registered Agent on December 22, 2016.

         3.    This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b) since it is

filed within thirty (30) days after receipt by Defendant Pinnacle Health Facilities, L.P., of a copy

of Plaintiff’s Complaint.

         4.    Defendant Pinnacle Health Facilities XXXIII, L.P. has not yet responded to the

Complaint. Defendant Pinnacle Health Facilities XXXIII, L.P. will respond to the Complaint

within seven days of the filing of this Notice of Removal in accordance with Fed. R. Civ. Proc.

81(c).

                                 NO JOINDER NECESSARY

         5.    As the Complaint names no defendants other than Defendant Pinnacle Health

Facilities XXXIII, L.P., no consent to removal is necessary.

                     JURISDICTION EXISTS UNDER 28 U.S.C. § 1332

         6.    This action is removable pursuant to 28 U.S.C. § 1441(a) because it is a civil

action over which this Court has original jurisdiction under 28 U.S.C. § 1332(a), in that there is

complete diversity between all parties and the amount in controversy exceeds the sum or value of

$75,000.00 exclusive of interest and costs.

                                     All Parties are Diverse

         7.    As alleged in the Complaint, Plaintiff is a citizen of the State of New Mexico.

         8.    Defendant Pinnacle Health Facilities XXXIII, L.P. is a Texas Limited Partnership.

See Exh. B, Affidavit of Robert Riek, ¶ 2. Its principal place of business is located at 5420 W

Plano Parkway, Plano, Texas 75093. Id.

         9.    The partners that comprise Defendant Pinnacle Health Facilities XXXIII, L.P. are:
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               a.     General Partner Pinnacle Health Facilities GP V, LLC: Pinnacle Health

       Facilities GP V, LLC is a Texas limited liability corporation organized pursuant to the

       laws of the State of Texas. Its principal place of business is located at 5420 W Plano

       Parkway, Plano, Texas 75093. See Exh. B, Affidavit of Robert Riek, ¶ 4.

               b.     Limited Partner Thomas Scott: Mr. Scott is a resident and citizen of the

       State of Texas. See Exh. B, Affidavit of Robert Riek, ¶ 5.

       10.     The sole member of General Partner Pinnacle Health Facilities GP V, LLC is

Thomas Scott. Mr. Scott is a resident and citizen of the State of Texas. See Exh. B, Affidavit of

Robert Riek, ¶ 6.

       11.     Defendant Pinnacle Health Facilities XXXIII, L.P. is now, and was at the time the

State Court Action was commenced, a citizen of Texas for diversity jurisdiction purposes. See

Carden v. Arkoma Assocs., 494 U.S. 185, 195-96 (1990).

       12.     Therefore, there is complete diversity of citizenship between Plaintiff and

Defendant.

                       The Amount in Controversy Exceeds $75,000.00

       13.     The Complaint alleges, inter alia, that Francisca Marmolejo, a nursing home

resident, died as a result of negligent care and treatment received in the nursing home. As

Personal Representative of Ms. Marmolejo’s estate, Plaintiff seeks both compensatory and

punitive damages based on claims of wrongful death, negligence, and respondeat superior.

       14.     Without conceding any merit to the Complaint’s damages allegations or causes of

action, given the nature of the claims asserted, the amount in controversy exceeds the

jurisdictional requirement of 28 U.S.C. § 1332(a).
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                               CONCLUSION AND PRAYER

       15.     Defendant Pinnacle Health Facilities XXXIII, L.P. reserves the right to submit

additional evidence in support of this Notice of Removal should Plaintiff move to remand.

       16.     By virtue of this Notice of Removal, Defendant Pinnacle Health Facilities

XXXIII, L.P. does not waive its right to assert any claims, defenses or other motions permitted

under the Federal Rules of Civil Procedure.

       17.     For the reasons stated above, Defendant Pinnacle Health Facilities XXXIII, L.P.

respectfully requests that this Court take jurisdiction of this action to its conclusion and final

judgment to the exclusion of any further proceedings in the State Action.

                                              Respectfully submitted,

                                              McCLAUGHERTY & SILVER, P.C.


                                              By:    /s/ Tamara R. Safarik
                                                     Tamara R. Safarik
                                                     Post Office Box 8680
                                                     Santa Fe, New Mexico 87504-8680
                                                     Telephone: 505/988-8804
                                                     Attorney for Defendant Pinnacle Health
                                                         Facilities XXXIII, L.P.
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                              CERTIFICATE OF SERVICE

      We hereby certify that a true and correct copy of the foregoing was served by U.S. Mail
to Counsel for Plaintiff, Laura Pazin Porter to Tom Rhodes Law Firm, P.C., 126 Villita Street,
San Antonio, TX 78205 on this 6th day of January, 2017.


                                                “Electronically Filed”
                                                 /s/ Tamara R. Safarik
